       Case 2:23-cv-01839-DJP-JVM Document 44 Filed 08/02/23 Page 1 of 2




                                   United States District Court
                                   Eastern District of Louisiana


 The State of Louisiana, et al.,
    Plaintiffs,                                       No. 2:23-cv-1839-DJP-JVM
 v.                                                   Judge Darrel James Papillon
 Department of Homeland
 Security, et al.,                                Magistrate Judge Janis Van Meerveld
    Defendants.

     Plaintiff State of Texas’s Motion to Withdraw Attorney

       Plaintiff State of Texas files this Unopposed Motion to Withdraw Leif A. Olson as its

attorney in this matter.

       Leif A. Olson has accepted a position outside the Office of the Attorney General of Texas,

and the State of Texas respectfully requests that he be withdrawn as its counsel. Plaintiff State of

Texas will continue to be represented by Charles Eldred and co-counsel listed below. This

withdrawal will not delay any proceedings. This motion is unopposed.

Dated: August 2, 2023                           Respectfully submitted,

Elizabeth B. Murrill (#20685)                    /s/ Leif A. Olson
Solicitor General                                Leif A. Olson
Morgan Brungard (#40298)                         Chief, Special Litigation Division
Assistant Solicitor General                      Tex. State Bar No. 24032801
Tracy Short (#23940)                             Leif.Olson@oag.texas.gov
Assistant Attorney General
OFFICE OF THE ATTORNEY GENERAL                   Charles Eldred
LOUISIANA DEPARTMENT OF                          Chief, Legal Strategy
JUSTICE                                          Tx. State Bar No. 00793681
P.O. Box 94005
                                                 Charles.Eldred@oag.texas.gov
Baton Rouge, Louisiana 70804
Telephone: (225) 326-6766
Email: murrille@ag.louisiana.gov                 Office of the Attorney General of Texas
                                                 P.O. Box 12548, Capitol Station
                                                 Austin, Texas 78711-2548
                                                 (512) 463-2100
      Case 2:23-cv-01839-DJP-JVM Document 44 Filed 08/02/23 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on August 2, 2023, and that all counsel of record were served by CM/ECF.

                                            /s/ Leif A. Olson
                                            Leif A. Olson
